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                     Exhibit 48
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                THE RULES AND REGULATIONS


                                   of the


                West Virginia Secondary School
                    Activities Gommission

                             as set forth in the

                     Constitution and Bylaws
                                    and


    Approved by the West Virginia State Board of Education

                               Published by

                   THE BOARD OF DIRECTORS

                                     of

     The West Virginia Secondary School Activities Gommission

                  REVISED AND PRINTED AUGUST 2O2O


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                                                                     WVSSAC000012
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IV
                                    INTRODUCTION

                         Officers of the Activities Commission

                             THE BOARD OF DIRECTORS

PRESIDENT           DAVID COTTRELL, PrinciPal
                    Clay-Battelle High School
                    Blacksville, West Virginia 2652 1               Office: 304-432-8208

VICE PRESIDENT:     DR. GREGORY MOORE, PrinciPal
                    South Harrison High School
                    Lost Creek, West Virginia 26385                 Office: 304-326-7440

MEMBER:             JIMMY FRASHIER, PrinciPal
                    Ripley High School
                    Ripley, West Virginia 25271                     Office: 304-372-7355

 MEMBER              MICHAEL KELLEY
                     Herbert Hoover High School
                     Elkview, West Virginia 25071                   Office: 304-965-3394

 MEMBER:             GRAIG LEE LOY, PrinciPal
                     Valley PreK-8 School
                     Smithers, West Virginia 25186                  Office: 304-442-8284

 MEMBER:             ARTHUR PETITTO, Athletic DirectorAssociation
                     Bridgeport Middle School
                     Bridgeport, West Virginia 26330                Office: 304-842-6251

 MEMBER:             JIM CRAWFORD
                     County Boards of Education
                     St. Albans, West Virginia 25177                Office: 304-549-0499

 MEMBER:             DR. EDDIE CAMPBELL
                     County Superintendents, Tucker County
                     Parsons, West Virginia 26287                    Office: 304-478-2771

 MEMBER:             DR. JAMES WILSON
                     WV State Board of Education
                     Glen Dale, West Virginia 26038                 Office: 304-281-1338

 MEMBER:             ROBERT DUNLEVY
                     \l/V State Superintendent Designee
                     130 North 1Oth Street
                     Wheeling, West Virginia 26003                  Office: 304-281-0529

 EXECUTIVE           BERNIE DOLAN
 DIRECTOR            2875 Staunton TurnPike
                     Parkersburg, West Virginia 261 04-7 219          Office: 304-485-5494

 ASSISTANT           GREG REED
 EXECUTIVE           2875 Staunton TurnPike
 DIRECTOR            Parkersburg, West Virginia 26104-7219           Office: 304-485-5494

 ASSISTANT           WAYNE RYAN
 EXECUTIVE           2875 Staunton TurnPike
 DIRECTOR            Parkersburg, West Virginia 26104-7219           Office: 304-485-5494

 ASSISTANT           DR CINDY DANIEL
 EXECUTIVE           2875 Staunton Turnpike
 DIRECTOR            Parkersburg, West Virginia 26104-7219           Office: 304-485-5494




                                                                                 WVSSAC000015
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                           DEPUTY BOARD MEMBERS AND JURISDICTION


                                             REGION ONE
 MEREDITH DAILER
    WHEELING PARK HIGH SCHOOL, WHEELING, WESTVIRGINIA
       Counties: Brooke, Hancock, Marshall, Ohio, Tyler and Wetzel

                                            REGION TWO
 DOTTIE SMITH
    WIRT COUNTY HIGH SCHOOL, ELIZABETH, WESTVIRGINIA
       Counties: Calhoun, Doddridge, Gilmer, Jackson, Pleasants, Ritchie, Roane, Wirt and Wood

                                           REGION THREE
 MATT DeMOTTO
    BRIDGEPORT HIGH SCHOOL, BRIDGEPORT' WEST VIRGINIA
       Counties: Harrison, Marion, Monongalia, Preston, Taylor and Tucker

                                            REGION FOUR
 HOLLYKLOEPPNER
    MUSSELMAN HIGH SCHOOL, INWOOD, WESTVIRGINIA
       Counties: Berkeley, Grant, Hampshire, Hardy, Jefferson, Mineral,Morgan, and Pendleton

                                             REGION FIVE
 EDDIEVINCENT
     BUCKHANNON.UPSHUR HIGH SCHOOL, BUCKHANNON, WEST VIRGINIA
        counties: Barbour, Braxton, clay, Lewis, Nicholas, Randolph, Upshur, and webster

                                           REGION SIX
 ROCKY POWELL
   WOODROW WILSON HIGH SCHOOL, BECKLEY WEST VIRGIN IA
       Counties: Fayette, Raleigh and Summers

                                            REGION SEVEN
 AMY ROBERTSON
     GREENBRIER WEST HIGH SCHOOL, CHARMCO, WESTVIRGINIA
        Counties: Greenbrier, Monroe and Pocahontas

                                            REGION EIGHT
 ANNALILLY
     PIKEVIEW HIGH SCHOOL, PRINCETON, WEST VIRGINIA
        Counties: McDowell, Mercer and Wyoming

                                             REGION NINE
 PE MCGLANAHAN
    HURRICANE HIGH SCHOOL, HURRICANE, WESTVIRGINIA
         Counties: Boone, Kanawha, Mason and Putnam

                                              REGION TEN
 BRENTJARRELL
     BARBOURSVILLE MIDDLE SCHOOL, BARBOURSVILLE, WEST VIRGINIA
        Counties: Cabell, Lincoln, Logan, Mingo and Wayne




                                                                                               WVSSAC000016
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VI


                                  CONSTITUTION AND BYLAWS COMMITTEE

            TRENT SHERMAN, PrinciPal                                   JEFF SOLE, PrinciPal
            Martinsburg High School                                    St. Marys High School
            Martinsburg, West Virginia                                 St. Marys, West Virginia

            STEVE WAMSLEY PrinciPal                                    MIKE COLLINS, PrinciPal
            Tygarts Valley High School                                 Bluefield High School
            Mill Creek, West Virginia                                  Bluefield, West Virginia

             JASON MARLING, PrinciPal
             Sherrard Middle School
             Wheeling, West Virginia


                                             BOARD OFTRUSTEES


             KENTYOHO                        Tyler Consolidated High School
             VACANT
             RON REEDY                       Sissonville High School
             KENNY DEMOSS                    Parkersburg High School
             HOLLYKLOEPPNER                  Musselman High School


                                                                                         west Virginia secondary
 DlscRlMlNATION pROHtBITED: As required by federal laws and regulations, the
                                                                                  color, religion, handicapping
 SchoolActivities commission does not discriminate on the basis of sex, race,
                                               to employment or in its programs and activities..            may be
 condition, marital status, or national origin                                                   .lnquiries
                                                                                            WV 26104' NoTE:
 referred to Bernie Dolan, Executive Director,2875 Staunton Turnpike, Parkersburg,
                                                                               Vl, Civil Rights Act of 1964; Title
 State and Federat taws include Tiile lX, Education Amendments of 1972;Title
                                                                                          and Federal laws and
 Vll, Civil Rights Act of 1964; Rehabilitation Act of 1973, Section 504; and other State
 regu lations governing students and employees'

                                         BELIEFSAND OBJECTIVES
                                                                                     in the development of
     The Commission believes that a controlled activities program is a strong factor
                                    and leadership. The Commission believes that representatives of a school
 courage, personality, cooperation,
                                                                             regulations governing eligibility
 should be good citizens of that school, hence the need for requirements and
 that have been standardized.
                                                                                            settlement of disputes
         The Commission is designed to provide means for the unbiased and amicable
     regarding activities.

      The Commission seeks to present proper ideals of sportsmanship so that
                                                                                       coaches, players, school au-
                                            may  combine   to make   any activity enjoyable and productive of physi-
 thorities, game officials, and spectators
                                                                     partisanship and  prejudice eliminated as far as
 cal and social benefits to both sides involved in the contest, with
 possible.

        To accomplish these objectives the Commission asks the cooperation
                                                                                 of its members, all lovers of clean'
                                                                                   system of interscholastics'
     wholesome activities, anO a1t fans, young and old, who believe in ourAmerican


                                               HISTORICAL SKETCH
         TheWestVirginiaHighSchoolAthleticAssociationwasorganizedJune              17,1916,duringameetingof
                                                                          the constitution and Bylaws as formu-
     the west Virginia-state Elucation Association. The original draft of
     lated by wr. F,..1. Gorman, Charleston, West Virginia, was submitted to
                                                                               the prrncipals of the high schools by
     PrincipalW.C. McKee of Charleston High School'
                                                                                     lrving), Elkins, Fairmont West,
          The charter members were Bluefield, Charleston, Clarksburg (Washington


                                                                                                          WVSSAC000017
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                                                                                                               vil


 Grafton, Huntington, Parkersburg, St. Marys, Sistersville and Wheeling'

    The first officers were: President, John G. Graham, Principal of Huntington High School; Vice President,
 Benjamin H. Williams, Principal of Beaver High School, Bluefield; and Secretary-Treasurer, H. P. Johns,
 Principalof Wheeling High School.

     The officers of the association were to be three in number; namely, a president, a vice president, and a
 secretary-treasurer.

    After a few minor changes of the original draft, the eleven charter member schools met and adopted the
 Constitution and Bylaws by an unanimous vote.

     The Association grew very rapidly during the ensuing years, and the work on the part of the secretary-
 treasurer especially became very burdensome. During these years on three or four occasions' moves were
 made to employ a iull time executive secretary, a step that had been taken in several other states. However,
 on each occasion, such proposal was defeated.

     It was not until 1946 that the Board of Control of the Association realized that a principal of a member
 school could not serve his school in an acceptable manner and at the same time serve as secretary-treasurer
 of the High School Athletic Association.

                                                                                                        "the report
      As a result of a meeting of the Board of Control held in Bluefield, WestVirginia, on April 6, 1946,
 of the Committee on the Eiecutive Secretary was distributed to the members in mimeographed form, and
                                                                                                                 on
 motion of P1ncipal W. C. Whaley, East Fairmont, and seconded by Principal Robert         L. Bryan,  South Charles-
 ton, the report was accepted by a majority vote."

     The report accePted was as follows:

      "The president, vice president and treasurer shall constitute a Board of Appeals, which board shall have
                                                                                                        pleasure of
 authority io appoint an executive secretary to serve for a period of four years or during the will and
 the Board of Appeals. The beginning salary of the executive secretary shall be three thousand        four hundred
 dollars ($3,400) to four thousand dollars ($a,OOO1."

      Shorly after the meeting in Bluefield, the Board of Appeals met and employed William R. Fugitt as the first
 Executive Secretary of the West Virginia School Athletic Association, and Mr. Fugitt immediately set up his
 office in Beckley, West Virginia.

     Mr. Fugitt came into his new position well prepared for the work ahead. A graduate of Marshall College
 (AB) and 1ie University of Cincinnati (MA), Mr. Fugitt began his career as an elementary principal. He then
 iaught and coached at Proctorville, Ohio, and Dunbar, West Virginia, after which he served for four years as a
 hig[ school principat in Beckley. From 1933 to 1937, Mr. FugittwasAssistant County Superintendent of
 Raleigh County Schools.

     During Mr. Fugitt's tenure as Executive Secretary of the Secondary SchoolActivities Commission, he was
 elected president of the National Federation of State High SchoolAssociations, an organization in which some
 20,000 senior and Middle School/9th Grade hold membership.

    During Mr. Fugitt's tenure in office, the name of the Association was changed to that of the West Virginia
 Secondary SchoolActivities Commission. This took place in 1955.

     Mr. Fugitt passed away on November 3, 1959 and was succeeded by W. Gordon Eismon who, at that
 time, was Jmember of the Board of Appeals. The office was moved to Charles Town for a short time and then
 to Parkersburg upon Mr. Eismon's relocation.

      Mr. Eismon was a graduate of Glenville State College (AB) and West Virginia University (MA). He served
 the Wirt County Board of Education for a period of 14 years as teacher, coach, principal, and county
 superintendent of schools before moving on to the principalship of Charles Town High School in Jefferson
  County.

      Mr. Eismon was in his 12th year as principal at Charles Town when appointed to the Executive Secretary
                                                                                                         WVSSAC000018
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 VIII

                                                                                          President of the National
 position. During his tenure as Executive secretary, he, like Mr. Fugitt, was elected
 Federation of State High SchoolAssociations'
                                                                          Mr. Sam Williams who, at the time, was
        Mr. Eismon retired September 1, 1g75 and was succeeded by
 servingasWestVirginia'sfirstAssistantExecutiveSecretary.

      Mr. Williams was educated at Glenville State College
                                                               (AB) and received his MA at West Virginia Univer-
                                                         school  and served in that capacity for ten years' From
 sity. He then became Principal of wirt county High
                                                         Ohio,  where  he served as Executive Head of that school
 Wirt County, Mr. Williams moved to New Matamoris,
                                     to St. Marys  High to serve  as principal for five years' For a period of twenty
 district for two years and moved on
                                                                            colleges in West Virginia and ohio and
 years, Mr. Williams was active as a football officialn high schools and
 was ranked as one of the top football officials in the Mid-Atlantic
                                                                       conference'

                                                            tremendous growth, particularly in the area of
        It was during his tenure that the Commission experienced
 girls sports and state level championships. The curient WVSSAC office was also built during this time' Mr'
 Williams retired on January 1 ' 1986.

      Mr. Bill Hanlin became Executive secretary on January 1, 1986,
                                                                         after serving asAssistant Executive
                                                                    college (AB)' He then coached football at
  secretary since 1975. Mr. Hanlin was educated at Glenville state
                                                                          Mr. Hanlin entered the University of
  Tyler County High School and Ashland High School, Ashland, Ohio.
                                                                     receiving his MAat Maryland, he returned
  Maryland as a graduate assistant and earnJd his MADegree. After
                                                      yeJrs.  He  returned  to Glenville State College as head
  to St. Marys High School as football coach for nine
                                                         the Assistant Executive  secretary.
  coach in football from 1g66 until 1g75 before becoming
                                                                          the officials and schools rating sys-
      lmportant programs implemented during Mr. Hanlin's tenure included
                                                                    state-wide cheering competition' He also
  tems, pRoJECTTARGET,iheAcademicAchievementAwards and
                                                                     Committee as Vice President and was a
  served on the National Federation of State High Schools Executive
  member of the National Federation TARGET Executive committee'

        Mr. Jim Hamrick assumed the Executive Secretary
                                                         position on January 16, 1989' A graduate of Glenville
  state college (AB) and west Virginia university (Mn), Hrtr. Hamrick began his career at his high schoolAlma
  Mater, Meadow Bridge High School. After   teathing'math     and coaching there for three years' he moved to
                                                                    four years. From there he went to Clendenin
  Rainelle High School wner-e he was head coach of Jll sports for
                                                                    the wvssAC Board of Appeals' directed the
  High school for one year. During that time he was a member of
                                                                                    He was also a member of the
  state Track Meet and served on numerous other wvssAc committees.
                                                                     From   there  he  moved on to Herbert Hoover
  National Federation Track Rules committee on two occasions.
                                                            principal at Clendenin    Junior High School where he
  High School for seven years. ln 1970 he was named as
                                                          football, basketball,  baseball and track official' He also
  served until 1989. For iwenty-five years he served as a
                                                     and  was  director of the  state track meet for thirteen years'
  directed numerous state baiketball tournaments
  He retired in August 1992'

                                                                           in September 1992' He had served as
         Mr. Warren Carter assumed the position as Executive Secretary
                                                                      Shepherd College (AB_) and West Virginia
   Assistant Executive Secretary since 198b. He graduated from
                                                                         the principalship of Shepherdstown High
   University (MA). Mr. Carter taught at Charles Town-and later assumed
                        principalit  J"ff"rron High school  at the time of  his appointment to the wVSSAC staff'
   School. He was the
   prior                              as  presideit of the Board   of Appeals   and as a member of the National
          to that time he had served
   Federation Executive Committee.
                                                                        tenure included Sportsmanship, Ethics,
       lmportant programs expanded or implemented during Mr. Cader's
   and lntegrity program, NFIbEP Coaches'Education, Regional
                                                                 Principals'Meetings, Girls'Sports' state cham-
                                                                                                             for
   pionships in swimming      tnr""-person officiating crews in ba.sketball. He was also largely responsible
                        "nJ                                 forms, office networking, and creation of a
   technology advancerients such as computerizeJscanning of
   WVSSAC web site. He retired in December 1999'

                                                                         in January 1993. She was appointed
       Ms. Janet pannett was appointed Assistant Executive Secretary                      -
                                   wvssAC  in July 1986' Ms. Pannett  was  a graduate and former instructor and
   Administrative Assistant of the
                                                                      from west virginia University. During her
   coach at west Liberty state college. she received her MA degree
                                                               girls program  and implementation of state-wide
   tenure, tremendous growth and development occurred in the
   competition in cheerleading.
                                                                               past president of the WVSSAC Board
         Mr. Gerald Trembush, principal of Moundsville Jr. High School and
                                                                                                           WVSSAC000019
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                                                                                                                      IX



 of Appeals, was appointed Assistant Executive Secretary on May
                                                                         1 , 'l   993. He taught and served as Principal
 at S'herrard Jr. High School andin igT2assumed the Assistant Principalship at
                                                                               John Marshall High School' He
 wasappointedPrincipalatMoundsvilleJuniorHighSchoolinl9B4'

     Ms. Elizabeth W. Best, Assistant Principal of Jefferson High School, was appointed
                                                                                             Assistant Executive
                                                                                  west  Virginia University (MA).
 secretary on June 1 3, 1 99s. She graduated from Shepherd college       (BS) and
                                                               Jefferson  High School for eleven years. She was
 She taugit mathematics and served as department head       at
 appointed Assistant Principal at Jefferson High School  in 1988'

                  ,'Butch" powell, Athletic Director and Boys' Basketball Coach of Nicholas County High School'
      Mr. C. W.
 was appointed Assistant     Executive Secretary on August 5, 1997. He taught, coached, and served as athletic
                                                                               positions at Nicholas county
 directoi at Kingwood High school from 1 969 to 197 4 and then assumed similar
 High School from 1974-1997 .

                                                                                                     He graduated from
      Mr. Mike Hayden assumed the position as Executive Secretary in January 2000'
 parkersburg High School in 1960 and Morehead State University in 1965. He taught and coached fortwo years
                                                                                      High School in 1968 as
 at Massillion High School and Fremont, OH for 1 year before returning to Parkersburg
                                                                                      1970-84 and Assistant
 teacher/coach. He was head football coach at Parkersburg South High School from
 principal at parkersburg High School from 1984-December 1999. He is a Certified AthleticAdministrator (CAA)
 and has a Masters Degree-in Education Administration from West Virginia University.

                                                                                          had served as Assistant
      Mr. Gary W. Ray assumed the position as Executive Director in August 2007. He
                                                                               College   and received his Masters
  Executive Director since May 26, zoot . He graduated    from Glenville State
                                           Stuoies  in 1979.  He  became  athletic director and assistant principal
  Degree from the wV College of Graduate
                                                     principalship in 1995.  He  served  as Director of schools in
  of 5ak Hill High school in i sza and assumed  the
                                                                                Virginia Athletic Direc-
  Fayette Counly. He was active with the vwSCA coaches'Association and the West
                                                                                       Committee, and
  tors,Association. He has also been a member of the WVSSAC Board of Appeals, TARGET
  WVSSAC SportsmanshiP Committee.
                                                                                                        She earned her
       Miss Kelly Geddis was appointed Assistant Executive Director on October 17,2002.
                                                    Education  in 1981  and  completed    her Masters   Degree in Sport
  teaching certiiication in English and Physical
                                           iertification  from  West  Virginia  University.   She began    her teaching
  ManagJment and her Administration
                                School   where   she  coached  the  sports of cheer, girls' basketball  and  boys'track.
  career at Morgantown High
                        Rtntetic  Director and  later served as  an  Assistant Principal.   she has been    an instructor
  ln 1gg7 she became
                                                                                                       instructorforthe
  fortheWVSSAC coaches Education program since its inception in 1991 and is also an
  American Association of cheerleaders, coaches and Advisors            (AACCA).

      Mr. Ray Londeree, principal at Valley (F) High School, was appointed Assistant
                                                                                            Executive Director on
                                                                                 from  WV    College of Graduate
  March 15, 2007 . He received his AB from   Concord   College and  MS  degree
                            principal at Oak Hill High School, Eastern  Greenbrier   Jr. High and Gauley Bridge
  Studies. He has served as
                              coached   several sports and was athletic director at Valley, Mt. Hope and Oak hill
  High/Middle School. He also
  Hiln Scnoot. He has also been a member of the WVSSAC Board of Directors'
                                                                                                          as Assistant
      Mr. Bernie Dolan assumed the position of Executive Director January 2016. He served
                                                           January   2016. He  received  his BA   from   West  Virginia
  Executive Director from July 2015 tili he took office in
  University and his Masters in Safety and     Environmental     Engineering.    He  also received     a  Professional
                                                                                                               in Ohio
  Administration Certificate from Salem lnternational University. He served as Deputy Superintendent
                         park High School, he served  as  Principal, Assistant Principal/Athletic   Director, Technol-
  County. At Wheeling
                                                                                                     of the State Golf
  ogy Cbordinator and math instructor. He served as Director for the Super Six; Director
                                                                                   Directors'   He   has also been a
  T6urnament; on the OVAC Executive Board; and on the WVADA Board of
  member of the WVSSAC Board of Directors.

                                                                                                      appointed Assistant
       Mr. Greg Reed, Assistant principal/Athletic Director, Martinsburg High Schoolwas
  ExecutiveDirectorinDecember20l5. HeattendedGlenvillestatecollegemajoringinsecondaryEducation.
  He received his MAin Communication Studies from WVU and his Educational
                                                                                           Leadership degree from Salem
                                                                                     served as Assistant
  lnternational University. He taught and coached at Nicholas County High School. He
  Principal/Athletic Director at Martinsburg High School since 2003.

       Mr. Wayne Ryan assumed the position of Assistant Executive Director in July,20'l
                                                                                                        6. He served as

                                                                                                               WVSSAC000020
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 X


                                                                                                              in Second-
 Assistant principal/Athletic Director at Summers County High School. He received his Bachelors
                                                                                           He received his
 ary from Alderson Broaddus and Masters in Communication from West Virginia University.
                                                    member of the WBCA, NFHSCA,  WVSACA,    NIAAA and the
 CAA certification from the NIAAA.    He  is also a
 WVADA.
     Dr. Cindy Danieljoined the WVSSAC staff in July 2018 as an Assistant Executive Director. Aveteran
                                                                                            has served as a
 educator with g+ years of experience in the West Virginia public school system, Dr. Daniel
 teacher, coach, curriculum supervisor, assistant principal, acting principal, and assistant superintendent
 before retiring in 2017 as the wV Deputy state superintendent of schools. she earned her bachelor's
                                                                                                   in School
 degree in Multi-categorical Special Educaiion from the University of Charleston, masters'degrees
                                                               and  her doctorate in Leadership Studies from
 Co-unseling and Leadershrip btuoies from Marshall University,
 Marshall UniversitY.
                                                                           ',l985, following the tenure of Sam
     William R. "Bill'Wooton became WVSSAC general counsel on June 1 ,
 White, who resigned to become Judge of the Circuit Court of Doddridge,  Pleasants    and Ritchie Counties' He
 was educated ai Marshall University (BBA), Ohio University  and West Virginia  University  College of Law' Mr'
 Wooton resigned as wVSSAC general counsel on December 31,2020 to become a Justice of the
                                                                                                                     west
 Virginia Supreme Court of Appeals.

                                      REORGANIZATION AND LEGALIZATION

      prior to 1g52, the Bylaws consisted of major rules to which had been added, over the years, explanations
                                                                                                 result of general
 and rulings based upon interpretations and decisions of various Boards of Appeals' As a
 acceptanie and long usage,    these explanations  and  interpretations acquired force  and meaning    comparable
               rules.  ConsJquently, at the annual  meeting  of the  Board of Control in 1952, official action was
 to the basic
 taken declaring that, because oi urag", explanations and interpretations under the        rules are  a part of the
  rules.

                                                                                                                to
       At the annual meeting in 1955 a constitution was adopted establishing authority for a reorganization
                                            the changing  of the name  of the organization from the "West Virginia
  include all interscholasticlctivities and
                                                                                                        separate
  High schoolAthleticAssociation." The reorganization provided for a division of the Bylaws into two
  parts:,,The Athletic Bylaws"  and   "The Non-Athletic Activities Bylaws."

                                                                                                            thereto
      An act to amend Article 2, Chapter 18 of the Code of West Virginia of 1931 as amended by adding
                                                                                         SchoolActivities Commis-
  a new section, designated Section 25, pertaining to The West Virginia      Secondary
                                                                                              law created the West
  sion was enacted into law by the West Virginia Legislature on March 11 ,1967 . The new
  Virginia Secondary School Activities Commission     as  a legal entity, an arm  of the county school boards' As
        it is authorized by law to make rules and regulations  and to  adjudicate  contested  cases.
  "uJf
         prior to the enactment of the law in 1967, the Commission's scope of jurisdiction included supervision,
                                                                                                            The law now
  control and regulation of all interscholastic extracurricular activities of the schools of its members.
  limits the Commission's scope of jurisdiction to interscholastic athletic      events and   band activities.

                                                                                                           West
       The position of the Commission was further strengthened as the result of a decision rendered by the
  Virginia iupr"r" Court of Appeats   in a case styled, WEST  VIRGINIA   SEcoNDARY        ScHooLAcTlVlTlES
  coHlHltssioN v HARVEY OAKLEY JUDGE, AND EDWARD LEE, dated september 1968'

         The decision rendered is long and need not be recounted here in its entirety. However, a few very signifi-
     cant statements from that decision are important enough to be included in this section on LEGALIZATION'
     (Boldface is pertinent. Points not necessarily in order in the decision).
              As a general rule courts should not interfere with the internal affairs of school activities commissions
                                                                                                                         or
         I .
              associations.
         2.   The West Virginia Secondary SchoolActivities Commission is still for all intents and purposes in the
                                                                                                                    partici-
              same position as it has been for the past fifty years; that is, that member schools eligible to
              pate may voluntarily do so, and after such     participation,  they   agree   to comply   with the rules and
              regulations that have governed such organization      in the past  and  will govern in the future.

         3. The organization has had rules for eligibility of students to participate in athletics or procedure for

                                                                                                                 WVSSAC000021
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                                                                                                                       XI


                                                                                                    for member schools
           declaring such students ineligible to participate and for disciplinary procedures
           and for the review of such            or decision   made   by  the officers  of boards  of  the association or
           organization during its entire
                                         ""tion
                                           existence.    Where  such   procedure   is provided for  in  such organization
                                           must  be  followed  and   due  process  of law  may be  afforded   administra-
           or association the irocedure
           tively without the use of or application  to  the courts'
           (Staie ex. rel. Burchett v Taylor, 150 W.Va' 702, 149 S'E' 2d 234')

                                                                                           CONSTITUTIONAL
    The question as to whether a student's participation in interscholastic athletics is a
            pRtVtLEGE    was answered in litigation  in the UNITED   STATES   DISTRICT   COURT,   SOUTHERN
 RTGHT or a
                                                       a CivilAction case No. 79-2497  Harris vs. west virginia
 DtsTRtcT oF WEST VtRGtNtA, CHARLESiON,             in
 Secondary School Activities Commission,  et. al'

 On September2,1981, Chief Judge Dennis R' Knapp ruled:
                                                                                                     property interest
       ,,The
               supreme court held that a student's legitimate entitlement to an education is a
                                                                             Gross vs. Lopez, 419  U.S. 754; 95 S' Ct'
 protected by the due process clause of the Fourteenth Amendment,
                                                          athletics  is only a mere  expectation rather than a consti-
  T29 (1'g7S).' However, participating in interscholastic
                                                  thus,  falls outside  the  protection of due process.   Moreland v'
 tutionally protected claim of entitlement and,
 Westernpennsylvania,ST2F.2dl2l(3rdCir.1978). Eveniftheplaintiff'sdueprocessargumentswerewell
                                                                                         review procedure that
 founded, the WVSSAC, in both its rules and actions, provided plaintiffwith a sufficient
 ultimately resulted in the relief sought."
                                                                                        FOR THE FOURTH
     Judge Knapp's decision was appealed to the UNITED STATES COURT OFAPPEALS
                                                                     clement     Haynsworth,  Jr. and circuit
 clRcutT in Richmond, Virginia. on May 2,1gl2,Senior  circuit Judge           F.
                                                     agreed  with and affirmed the District Court's opinion.
 Judges H. Emory wideneiJr. and Robert F. Chapman

        lnJune, lggT,apetitionforWritofMandamuswasfiledbyA.JamesManchin'TreasurerofStateofWest
                                                                                           and that the WVS-
  Virginia, asking that the WVSSAC comply with statutory requirements of state agencies
                                                                                            by them for or on
  SAb deposit *itf' tn" State Treasurer, within 24 hours, "all monies received or collected
  behalf of the State for any purpose whatsoever'"
                                                                                          This opinion stated
       The Supreme Court ruled and Justice McHugh wrote the opinion in December 1987.
                                            Secondary  SchoolActivities Commission, which  operates pursuant
  that,,Funds received by the West Virginia
               granted it by county boards  of education under w.Va.   Code 18-2-25 (1967)'  are quasi-public
  to authority
  funds,'as defined in W.Va. Code 1B-5-13 (1987), and areto be accounted forin a mannersimilartothat
                                                                                           for under W'Va'
  provided for funds of county boards of education, but such funds are not to be accounted
                                                                                     on behalf of Treasurer
  Code j2-2-2 (19S3) as "monies due the State." Consequently, the Writ of Mandamus
  Manchin was denied.

                                                                                                   were changed by the
      The tiiles Executive Secretary, Assistant Executive Secretary and Board of Appeals
                                                                                      and Board of Directors
  Board of Control in April 2OO2 6 Executive Director, Assistant Executive Director,
  respectivelY.

  A partiallist
                      1939-215        1952-287            965-334        1 978-31 0        199't-320        2004-299
  showing the                                           1

                      1940-219         953-289          1 966-333        1979-311          1 992-306        2005-297
   number of                          1
                                                                                                            2006-297
                                                        1967-332         1 980-31 3        1 993-306
    member            1941-220        1954-290
                      1942-221        1955-291          1968-327         1981-311          1 994-306        2007-292
  schools from                                                           1982-311          't995-307        2008-292
                      1943-214        1956-296          1969-31 7
        1931:                                           1970-320+        1 983-31 3        1 996-308        2009-301
                      1944-214        1957-305
  1931-135                                958-31 8      1971-323         1984-321          1997-307         2010-293
                      1945-214        1
  1932-193                            1959-320          1972-318             985-314       1998-304         2011-287
                      1946-219                                           1
  1 933-1 95                          '1960-320         1973-322           986-31 3        1999-304         2012-287
                      1947-221                                           1
  1 934-1 98                                                                               2000-304         2013-288
                                      1961-318          1974-322         1 987-31 6
                      1948-222
  1 935-1 96                                                                 9BB-31 6      2001-306         2014-288
                      1949-226        1962-321          1975-320         1
  1936-205                              963-328         1976-313             989-31 8      2002-300         2015-288
                      1950-228        1                                  1
  1937-212                            1 964-333         1977-312         1990-327          2003-296         2016-288
                      1951-287*
  1   938-21 B                                                                                              2017-288
                                                                                                            2018-289




                                                                                                               WVSSAC000022
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 XII



 *Hereafter this figure includes Middle school/9th Grade as members.
 +Hereafter this number also includes Private and Parochial School Members'

                    NATIONAL FEDERATION OF STATE HIGH SCHOOLASSOCIATIONS

                                                                                                  activities associa-
      The National Federation consists of the fifty individual state high school athletic and/or
                                                                            nine interscholastic organizations  from
 tions and the association of the District of Columbia. Also affiliated are
               provinces  of Alberta, British Columbia, Manitoba,   New  Brunswick,  Newfoundland-Labrador,     Nova
 the Canadian
                                                                                                      School Sports
 Scotia, Ontario, prince Edward lsland, Saskatchewan and Quebec as well as the Canadian
 Federation and the associations of the     Republic of the Philippines, Guam   and  saintThomas.

                                                                                                    unneces-
     These associations have united to secure the benefits of cooperative action which eliminates
                  of effort and increases efficiency through the pooling  and coordinating of ideas of all who
 sary duplication
 araengaged in the administration of high school athletic and activities programs.

                                              ORIGINANDGROWTH

     The national organization had its beginning in a meeting at Chicago on May 14, 1920- L'W. Smith'
                                                                                              states' and state
 secretary of the lllinois High schoolAthletic Association, issued invitations to neighboring
                                     from lllinois, lndiana, lowa, Michigan  and Wisconsin.   The  primary pur-
 association representativ6r
                                "u*"
 pose of the meeting was to discuss problems which had resulted from high school          contests  which were
                                                                                                   attention was paid
 organized by colleges and universities or by other clubs or promoters. ln many cases' little
 to"the eligibility rules of the high school associations or to other school group regulations' and
                                                                                                    chaotic
                                                                                         high schools required a
  conditionJ had developed. At this first meeting it was decided that the welfare of the
                                                   activities be exercised by the high  school through the state
  more active part in the control of such athletic
  associations, and this control necessitated the formation of a national organization. A Constitution
                                                                                                                   and
         were adopted and the group decided on the name "Midwest Federation of State High
                                                                                           schoolAthletic
  Bylaws
                                                                                        president and Principal L'W
  Association." principal GeorgJEdward Marshall, Davenport, lowa, was elected
  Smith of Joliet, lllinois, was elected secretary-treasurer'

       ln 1g21, four states - lllinois, lowa, Michigan and Wisconsin - continued their interest and became
                                                                                                   the national organi-
  charter members through formal ratification of the constitution. Largely due to their efforts,
  zation grew during the early years.
                                                                                                             the name
       ln 1g22,the Chicago annual meeting was attended by representatives from eleven states, and
  of the NationalFederaion of state High-schoolAthleticAssociationswas adopted.
                                                                                       Anumberof college and
  university representatives who attended the meeting expressed sympathy        for and interest in the efforts to
  introduce a high degree of order in the regulation of interscholastic contests'

                                                                                                         membership'
       since thattime, the National Federation has had a healthy growth to its present nationwide
                                                                                               was established in
  By 1940, a national office with a full{ime executive staff became necessary, and such office
  September of that Year.

     The legislative body is the National Council made up of one representative from each member
                                                                                                                  state
                                                                                          governing board
  association. Each repiesentative must be a state association chief executive officer or
                                                                                              territorial sections
  member. The executive body is the Executive Committee of twelve members from the eight
                                                        the National Council at its summer meeting'
  as outlined in the Constitution. Their election is by

                                           STATEMENT OF PHILOSOPHY

                                                                                                      the efforts of its
       The purpose of the National Federation of State High SchoolAssociations is to coordinate
                                                                                activities. lt shall provide a means
  member state associations toward the ultimate objectives of interscholastic
                                                              to enhance  and    protect  their  interscholastic   pro-
  for state high school associations to cooperate in order
  grams. ln order to accomplish this, the   National  Federation  is guided   by  a philosohy     consistent  with  the
            purposes of secondary   education.  Member    state associations'  programs     must   be administered    in
  Iccepted




                                                                                                             WVSSAC000023
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                                                                                                                 XIII



 accordance with the following basic beliefs:

      lnterscholastic activities shall be an integral part of the total secondary school educational program which
 has as its purpose to provide educational experiences not otherwise provided in the curriculum, which will
 develop learning outcomes in the areas of knowledge, skills and emotional patterns and will contribute to the
 development of better citizens. Emphasis shall be upon teaching "through" activities in addition to teaching
 the "skills" of activities.

      lnterschool activities shall be primarily for the benefit of the high school students who participate directly
 and vicariously in them. The interscholastic activity program shall exist mainly for the value which it has for
 students and not for the benefit of the sponsoring institutions. The activities and contests involved shall be
 psychologically sound by being tailored to the physical, mental and emotional maturity levels of the youth
 participating in them.

     Any district and/or state athletic meet competition to determine a so-called champion shall provide oppor-
 tunities for schools to demonstrate and to evaluate the best taught in their programs with the best taught in
 other schools and in other areas of the state.

     Participation in interscholastic activities is a privilege to be granted to those students who meet the
 minimum standards of eligibility adopted cooperatively by the schools through their state associations and
 those additional standards established by each school for its own students.

     The state high school associations and the National Federation shall be concerned with the development
 of those standards, policies and regulations essentialto assist their member schools in the implementation of
 their philosophy of interscholastic activities.

      Nonschool activities sponsored primarily for the benefit of the participants in accordance with a philosophy
 compatible with the school philosophy of interscholastics may have values for youth. When they do not
 interfere with the academic and interscholastic programs and do not result in exploitation of youth, they shall
 be considered as a worthwhile supplement to interschool activities.

      The welfare of the schools demands a united front in sports direction policies and the high school associa-
 tions provide opportunity for this unity. They must be kept strong!




                                                                                                          WVSSAC000024
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 )flv




                                             GLOSSARY OF TERMS




 ALL-STAR GAME - a contest where all contestants on each team are students
                                                                              selected from four or more
 schoolteams.    No more than three students from any one school may participate on the same team'

 COACH - county board/governing body contracted or approved facilitator
                                                                              ofany secondary school athletic
 team.

 COMMTSSION/WVSSAC - West Virginia Secondary School Activities Commission

  CONTEST or GAME - one or more of the following conditions are
                                                                      present: previous agreement, advertise-
                                                                                                appearing in
  ment, score and/or time kept, spectators present, regulation or modified rules used, coverage
                                                     teams,  admission charged,  and/or contest officiated by
  local media, sufficient number of students to form
  registered officials.

                                                                                               student govern-
  EXTRACURRIcutAR AcTlvlTlEs - nonacademic activities such as interscholastic athletics,
                                                                                           which are not closely
  ment, class officers, marching band that is not a part of the curricular band, and clubs
  related to identifiable programs/areas of study.

                                                                               W. Va. 126cSR136, WVBE Policy
  FACULTY MEMBER - one who has a full-time teacher permit as defined by
                                                                                       Personnel and Advanced
  5202, Minimum Requirements forthe Licensure of Professional/Paraprofessional
  Sala ry Classification.

                                                                                             body as the school
  FEEDER SCHOOL - the school(s) designated by the county board of education/governing
  of attendance priorto entrance into the high school'

  GRID-o-RAMA/soccER-o-RAMA           - must adhere to rules of Preview and Scrimmage (see definitions)'

  MEMBER SCHOOL - a schoolthat is a member of the WVSSAC'

  pREVIEW - must be three or more teams; teams are only allowed to play the equivalent of one contesU all
  conditions of a scrimmage aPPlY.

  pRlNClpAL - the individual charged with supervision, management, and control of a secondary school.


  SCRIMMAGE - after seven days of practice; prior to the first contesu without
                                                                                  keeping score in a book or on
  a score board; not under game conditions (examples include basketball and
                                                                                  soccer - quarters; three outs-
                                    may   be charged;    free substitution; time-outs permitted; if officials are
  baseball and softball); admission
  used, they must be West Virginia registered officials'

  sEMESTER - a block of instructionaltime that is equivalent to at least one-half of
                                                                                    the academic year. (see w.
  Va.l26CSR42,WVBEpolicy25l0,AssuringtheQualityofEducation:               RegulationsforEducationPrograms.)


   SECONDARY SCHOOL - a high school or middle school as registered
                                                                   with the WVDE.


   STUDENT - a male orfemale participant in interscholastic athletics or band activities.

                                                                                   as specified by the WVBE
   sUB5TITUTE TEACHER - a person in a public school who has met the requirements
                                                                                      a person who has met
   and has been approved as a substitute teacher ofthat county board of education, or
   the requirements of the governing body of a private/parochialschool.

   VARSITY - primary representative team of a high school'

                                                                                                      WVSSAC000025
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                                                                                                                     XV




                                     BASKETBALL CLASSI FICATION FACTO RS



 This considers the following factors: enrollment, location and economics. These factors are given individual
 scores, which are then given a weighted aggregate total. All individual scores (scores for enrollment, location
 and economics) are normalized using maximum-minimum normalization using feature scaling, wherein their
 values fall between O-1. lndividual scores are calculated in the following ways:

         The enrollment score takes enrollment data and normalizes it on a scale from 0-1

         The location score is made up of two equally weighted pieces.
         o        part 1 is determined by taking the school county's population divided by the driving distance
              between the school and the county seat, that value is then normalized between 0-L.
         o        pa rt 2 is ca lcu lated by finding the distance from the school to the closest city with a popu lation

              of 10,000 or more, then normalized between 0-1. Each part is then multiplied by half of the
              location score weight.

         The economic score is determined by first calculating a county score where the z-score of the county's
          median household income is added to the z-score of the county's poverty rate and the sum is
          normalized between 0-1.
          o       For all schools located within single high school counties, the county economic score serves
              as the school economic score.
          o       For allschools located within multi-high school counties, Direct Certified numbers on students
              eligible for free or reduced lunch are used to scale the county economic score. The scaling is
              accomplished by comparingthe Direct Certified numbers of each individualschoolwith the county
              average,

  Weights are applied to each score that are determined based on qualitative assessment by the WVSSAC
  Competitive Balance Committee. All county data (population, median household income, and poverty rate)
  are from the most recent US Census American Community Survey's Five Year Estimates and the distances
                                                                                                       are
  determined using Google MaPs.




                                                                                                              WVSSAC000026
